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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                             CRIMINAL NO.

       v                                             DATE FILED:

DONNIE SMITH,                                        VIOLATIONS:
ABID STEVENS and                                    18 U.S.C. $ 1951(a) (robbery which
MAURICE QUINN                                       interferes with interstate commerce
                                                    - 1 count)
                                                    18 U.S.C. S 924(cX1) (carrying and using
                                                    a firearm during and in relation to a
                                                    crime of violence - 1 count)
                                                    18 U.S.C. $ 9229(1) (unlawful possession
                                                    of a firearm)
                                                    18 U.S.C. $ 2 (aiding and abetting)
                                                    Notice of Forfeiture

                                        INDICTMENT

                                         COUNT ONE

THE GRAND JURY CHARGES THAT:

              At all times material to this indictment

               1.     RD Grocery, located at 152 East Sharpnack Street, Philadelphia,

Pennsylvania, was a convenience store business that engaged in interstate commerce by

providing for sale commodities produced and transported from other states to Pennsylvania, and

sold to customers

              2.      On or about March 22,2019, in Philadelphia, in the Eastem District   of

Pennsylvania, defendants

                                      DONNIE SMITH,
                                     ABID STEVENS and
                                      MAURICE QUINN

obstructed, delayed and affected commerce and the movement of articles and commodities in

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corrunerce, by robbery, and attempted to do so, and aided and abetted the same, in that

defendants DONNIE SMITH,       ABID STEVENS, and MAURICE QUINN unlawfully took and

obtained, $100 in United States currency and a firearm, that is, a Glock 26,9mm semi-automatic

handgun, bearing serial number BCXX649, loaded with eight live rounds of ammunition, from

employees of RD Grocery and against their will, by means of actual and threatened force,

violence, and fear of injury, immediate and future to their person and property, that is, by

pointing firearms, threatening and controlling the victim employees, and stealing money and a

firearm.

                       In violation of Title 18, United States Code, Sections 1951(a) and2.




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                                         COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

               On or about March 22,2019, in Philadelphia, in the Eastern District   of

Pennsylvania, defendants

                                       DONNIE SMITH,
                                      ABID STEVENS and
                                       MAURICE QUINN

knowingly used, carried, and brandished, and aided and abetted the use, carrying, and

brandishing of, a firearm, that is, two black semiautomatic handguns, and a Glock 26,9mm

semi-automatic pistol, bearing serial number BCXX649, loaded with eight live rounds       of

ammunition, during and in relation to a crime of violence for which they may be prosecuted in a

court of the United States that is, robbery which interferes with interstate commerce, in violation

of Title 18, United States Code, Section $ 1951(a), as charged in Count One.

               In violation of Title 18, United States Code, Section 92a@)Q) and (2).




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                                       COUNT THREE

THE GRAND JURY CHARGES THAT:

               On or about March 22,2019, in Philadelphia, in the Eastern District   of

Pennsylvania, defendant

                                      DONNIE SMITH,

possessed in and affecting interstate commerce a firearm and ammunition, that is, a Glock 26,

9mm semi-automatic pistol, bearing serial number BCXX649, loaded with eight live rounds     of

ammunition, having previously been convicted in a court of the Eastem District of Pennsylvania

and the Commonwealth of Pennsylvania of a crime punishable by imprisonment for a term

exceeding one year, and did so knowingly.

              In violation of Title 18, United States Code, Section 922(g)(l).




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                               NOTICE OF FORFEITURE No. I

THE GRAND JURY FURTHER CHARGES THAT:

               As a result of the violation of Title 18, United States Code, Sections 922(g)(l) and

924(c), set forth in this indictment, defendant

                                       DONNIE SMITH,
                                      ABID STEVENS and
                                       MAURICE QUINN

shall forfeit to the United States of America all firearms and ammunition involved in the

commission of such violations, including, but not limited to:

               a.   A Glock 26,9mm semi-automatic pistol, bearing serial number BCXX649,

                    and eight live rounds of ammunition.

               All pursuant to Title 28, United   States Code, Section 2a6I@) and   Title   18, United

States Code, Section 924(d).




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                                   NOTICE OF FORFEITURE No.2

THE GRAND JURY FURTHER CHARGES THAT:

                 1.     As a result of the violations of Title 18, United States Code, Section

1951(a), set forth in this indictment, defendant

                                           DONNIE SMITH,
                                          ABID STEVENS and
                                           MAURICE QUINN

shall forfeit to the United States of America any property, real or personal, that constitutes or is

derived from proceeds traceable to the commission of such violations, including, but not limited

to, the sum of $100.

       2.       If any of the property subject to forfeiture,     as a result   of any act or omission of the

defendant:

                        (a)        cannot be located upon the exercise ofdue diligence;

                        (b)       has been transferred or sold to, or deposited with, a third party;

                        (c)       has been placed beyond the     jurisdiction of the Court;

                        (d)       has been substantially diminished in value; or

                        (e)       has been commingled       with other property which cannot be divided

                                  without difficulty;

it is the intent of the United   States, pursuant to   Title 28, United States Code, Section 2461(c),

incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendant up to the value of the property subject to forfeiture.




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                All pursuant to Title 28, United   States Code, Section 2a6l@) and   Title   18, United

States Code, Section 98 I (a)(1 )(C).

                                              A TRUE BILL:




                                              FOREPERSON




            M.
United States Attorney




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